19 F.3d 1431
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATE of America, Plaintiff-Appellee,v.Juan SANTIAGO, Defendant-Appellant.
    No. 93-6573.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 8, 1994.Decided March 23, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  T.S. Ellis, III, District Judge.  (CR-90-432-A, CA-92-144-AM)
      Juan Santiago, appellant pro se.
      Scott Frederickson, Office of the United States Atty., Alexandria, VA, for appellee.
      E.D.Va.
      AFFIRMED.
      Before HAMILTON and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Santiago, Nos.  CR-90-432-A;  CA-92-144-AM (E.D. Va.  Dec. 19, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    